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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
       v.                                           )       CAUSE NO.: 1:19-CR-40-HAB
                                                    )
CHRISTIAN DIAZ                                      )

              ORDER ACCEPTING FINDINGS AND RECOMMENDATION

       This matter is before the Court on the Findings and Recommendation of the United States

Magistrate Judge [ECF No. 87], filed on October 20, 2020. The Defendant has waived objection

to the Findings and Recommendation.

       The Court being duly advised, ADOPTS the Findings and Recommendation [ECF No. 87]

in its entirety and ACCEPTS the recommended disposition. Subject to this Court’s consideration

of the Plea Agreement pursuant to Federal Rule of Criminal Procedure 11(c), if applicable and

necessary, the plea of guilty to the offense charged in Counts 3 and 5 of the Indictment is hereby

ACCEPTED, and the Defendant is adjudged GUILTY of the offense.

       The Sentencing Scheduling Order scheduling sentencing-related deadlines and hearings

will be issued by separate order.

       SO ORDERED on November 5, 2020.

                                                s/ Holly A. Brady
                                                JUDGE HOLLY A. BRADY
                                                UNITED STATES DISTRICT COURT
